                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

ERIN ALDRICH , LONDA BEVINS,                  )
JESSICA JOHNSON, and BEATA                    )
CORCORAN, individually and on behalf          )
of all others similarly situated,             )         No. 1:20-cv-02310-JRS-MPB
                                              )
               Plaintiffs,                    )
                                              )
v.                                            )
                                              )
NATIONAL COLLEGIATE ATHLETIC                  )
ASSOCIATION, THE BOARD OF                     )
GOVERNERS OF THE NATIONAL                     )
COLLEGIATE ATHLETIC                           )
ASSOCIATION, and JOHN REMBAO,                 )
                                              )
               Defendants.                    )


                      PLAINTIFFS’ AMENDED STATEMENT OF POSITION

       Pursuant to Local Rule 16-2 of the United States District Court for the Southern District of

Indiana, Plaintiffs submit this Amended Statement of Position as to the above-referenced action,

amending the Statement of Position they filed on September 29, 2020 (Doc. #97).

       On March 11, 2020, Plaintiffs filed a class action Complaint for damages and injunctive relief in

the United States District Court for the Northern District of California against, inter alia, Defendants

National Collegiate Athletic Association and the Board of Governors of the National Collegiate Athletic

Association, for claims arising from Defendants’ failure to protect student-athletes from sexual abuse

and harassment by predatory coaches. See. 5:20-cv-01733-EJD (N.D. Cal.). They also brought claims

against Defendant John Rembao for sexually abusing three Plaintiffs Ms. Aldrich, Ms. Bevins, and Ms.

Johnson for years while they were student-athletes, and sought to hold the NCAA responsible for

Rembao’s misconduct under the doctrine of respondeat superior. Id. Plaintiffs amended their

Complaint on July 13, 2020, to add another plaintiff, Beata Corcoran, a current NCAA student-athlete.

Doc. 54.

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        On July 27, 2020, Defendants NCAA and the Board of Governors filed a motion to dismiss,

seeking, inter alia, to dismiss this case for lack of personal jurisdiction or, in the alternative, transfer it to

the Southern District of Indiana. Doc. 57. On September 8, 2020, the Honorable Edward J. Davila

transferred all claims against the NCAA and its Board to this Court. 1 Docs. 72, 76.

        Plaintiffs and Defendants have conferred and agree to the following amended schedule for

Plaintiffs to file an amended complaint, and a motion to dismiss/strike briefing schedule:

        October 13, 2020: Plaintiffs file Amended Complaint.

        November 13, 2020: Defendants’ Motion to Dismiss/Strike Due.

        December 11, 2020: Plaintiffs’ Opposition to Defendants’ Motion to Dismiss/Strike Due.

        January 8, 2020: Defendants’ Reply in Support of Motion to Dismiss/Strike Due.

        Additionally, Plaintiffs intend to respond to Defendants’ request, made in their Position

Statement (Doc. #98) at 5-6, that the Court vacate the deadline set by Local Rule 16-1(c)(1) and stay all

discovery in this case until this Court adjudicates the Defendants’ anticipated motion to dismiss/strike.

Plaintiffs intend to file their opposition to that request on or by October 13, 2020 (i.e. 14 days after

service pursuant to Local Rule 7-1(c)(3)(A)).

Dated: October 6, 2020                          Respectfully submitted,

                                                /s/ Elizabeth A. Fegan_________________
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  Defendant Rembao also filed a motion to dismiss, arguing that Plaintiffs’ claims were time-barred and
inadequately pleaded. Doc. 58. Judge Davila denied his motion to dismiss. Doc. 72.
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                                   CERTIFICATE OF SERVICE

        I certify that on October 6, 2020, a copy of the foregoing Amended Statement of Position was
filed by CM/ECF and served on all counsel of record through the CM/ECF system.



                                                    /s/ Lynn A. Ellenberger
                                                    LYNN A. ELLENBERGER




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